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                    UNITED STATES DISTRICT COURT

                    MIDDLE DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA

VERSUS                                         CRIMINAL ACTION

HELEN FAYE   STEWART                           NUMBER 12-15-JJB-SCR


                               NOTICE
     Please take notice that the attached Magistrate Judge’s Report
has been filed with the Clerk of the U. S. District Court.
     In accordance with 28 U.S.C. §636(b)(1), you have 14 days
after being served with the attached report to file written
objections to the proposed findings of fact, conclusions of law,
and recommendations set forth therein. Failure to file written
objections   to    the   proposed     findings,  conclusions    and
recommendations within 14 days after being served will bar you,
except upon grounds of plain error, from attacking on appeal the
unobjected-to proposed factual findings and legal conclusions
accepted by the District Court.

     ABSOLUTELY NO EXTENSION OF TIME SHALL BE GRANTED TO FILE
WRITTEN OBJECTIONS TO THE MAGISTRATE JUDGE’S REPORT.

     Baton Rouge, Louisiana, October 30, 2013.



                                  STEPHEN C. RIEDLINGER
                                  UNITED STATES MAGISTRATE JUDGE
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                    UNITED STATES DISTRICT COURT

                    MIDDLE DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA

VERSUS                                         CRIMINAL ACTION

HELEN FAYE   STEWART                           NUMBER 12-15-JJB-SCR


                       MAGISTRATE JUDGE’S REPORT

     Before the court is the Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C. § 2255 filed by Helen Faye

Stewart.   Record document number 65.

     Petitioner pled guilty to one count health care fraud in

violation of 18 U.S.C. § 1347.       Petitioner was sentenced to 46

months in the custody of the United States Bureau of Prisons.

Judgment was entered September 25, 2012. Petitioner did not appeal

her conviction and sentence.

     Petitioner’s § 2255 motion was filed timely.           No evidentiary

hearing is required.

     Petitioner raised five grounds for relief in his § 2255

motion, all asserting ineffective assistance of counsel.                   Only

Ground Five is addressed in this report.


    Ground Five: Ineffective Assistance of Counsel on Appeal

     In her fifth ground for relief, the petitioner argued that the

failure by counsel to perfect an appeal from her guilty plea
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constituted       ineffective    assistance          of     counsel        on    appeal.

Specifically, the petitioner argued that after sentencing counsel

assured    her    that   an   appeal    would   be        filed    within       10   days.

Petitioner argued that after numerous failed attempts to contact

counsel,    she    met   with   counsel       nine    days        after    sentencing.

Petitioner argued that when she demanded to know whether an appeal

had been filed on her behalf, counsel suggested that she get

another attorney to review the case.             Petitioner argued that She

was unable to file a notice of appeal on his own behalf.

     In its response, the United States did not dispute the

petitioner’s allegations.            Rather, the United States argued that

the petitioner waived her right to appeal her conviction and

sentence, subject to limited exceptions. The United States further

argued that the petitioner was notified by the court of her right

to appeal her conviction and sentence within 14 days. Finally, the

United    States    argued    that    the    petitioner       will    be    unable     to

establish by a preponderance of the evidence that she instructed

her counsel to file a timely notice of appeal and that counsel

failed to follow that instruction. In support of its response, the

United States relied upon the affidavit Jarvis M. Antwine, the

petitioner’s counsel. In relevant part, the affidavit stated “[a]t

no time did Affiant advise the defendants not to appeal.                        In fact,

Affiant advised the defendants to seek other representation for an




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appeal.”1

     The United States’ argument is not persuasive, particularly in

light of the affidavit of the petitioner’s counsel.

     For the reasons which follow, the petitioner should be granted

an opportunity to file an appeal.


                         Applicable Law and Analysis

     The Sixth Amendment entitles a criminal defendant to effective

assistance of counsel on direct appeal. United States v. Reinhart,

357 F.3d 521 (5th Cir. 2004).        To prevail on a claim of ineffective

assistance for failure to file a notice of appeal, the petitioner

must show that the failure fell below and objective standard of

reasonableness and that it prejudiced him.             See Roe v. Flores-

Ortega, 528 U.S. 470, 478, 120 S.Ct. 1029, 1035 (2000).

     A    defendant   has    the   ultimate   authority   to    make   certain

fundamental decisions regarding the case, such as whether to plead

guilty, waive a jury, testify in his own behalf, or take an appeal.

Wainwright v. Sykes, 433 U.S. 72, 93 n.1, 97 S.Ct. 2497, 2509 n.1

(1977).

     A    lawyer   who    disregards    specific   instructions      from     the

defendant to file a notice of appeal acts in a manner that is

professionally unreasonable.           Roe v. Flores-Ortega, 528 U.S. at

477, 120 S.Ct. at 1035.            Counsel’s failure to do so cannot be


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         Record document number 73-1, p. 1, ¶ E.

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considered a strategic decision.              Id.      On the other hand, a

defendant who explicitly tells his attorney not to file an appeal

plainly cannot complain that, by following his instructions, his

counsel performed deficiently.         Id.    An attorney’s failure to file

an appeal after being specifically instructed to do so entitles the

defendant to an appeal without regard to a showing that the appeal

would actually have merit (i.e., without regard to a showing of

actual prejudice.)      Id.

        Courts must “judge the reasonableness of counsel’s challenged

conduct on the facts of the particular case, viewed as of the time

of counsel’s conduct.”        Strickland v. Washington, 466 U.S. 668,

690, 104 S.Ct. 2052, 2066 (1984).            Judicial scrutiny of counsel’s

performance must be highly deferential.             Id. at 689, 104 S.Ct. at

2065.

        When a defendant has not specifically expressed his wishes

regarding an appeal, the preliminary inquiry is “whether counsel in

fact consulted with the defendant about an appeal.” Flores-Ortega,

528 U.S. at 478, 120 S.Ct. at 1035. Under Flores-Ortega, “consult”

means     “advising    the    defendant       about    the       advantages      and

disadvantages of taking an appeal, and making a reasonable effort

to discover the defendant’s wishes.” Id. If counsel consults with

the defendant, then counsel acts in a “professionally unreasonable

manner     only   by   failing   to    follow    the    defendant’s       express

instructions with respect to an appeal.”              Id.    If counsel has not


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consulted with the defendant, the inquiry is whether counsel’s

failure to consult with the defendant itself constitutes deficient

performance.     Id.

     Counsel has a constitutionally imposed duty to consult with

the defendant about an appeal when there is reason to think either

(1) that a rational defendant would want to appeal (for example,

because there are non-frivolous grounds for appeal), or (2) that

this particular defendant reasonably demonstrated to counsel that

he was interested in appealing.    Id. at 480, 120 S.Ct. at 1036.         In

making this determination, the court must take into account all the

information counsel knew or should have known.       Id.     Although not

determinative, a highly relevant factor in this inquiry is whether

the conviction follows a trial or a guilty plea, both because a

guilty plea reduces the scope of potentially appealable issues and

because such a plea may indicate that the defendant seeks an end to

judicial proceedings. Id. Even in cases when the defendant pleads

guilty, the court must consider such factors as whether the

defendant received the sentence bargained for as part of the plea

and whether the plea expressly reserved or waived some or all

appeal rights.     Id.

     The rule set forth in Flores-Ortega is applicable in cases

even when the defendant has waived his rights to direct appeal and

collateral review.       U.S. v. Tapp, 491 F.3d 263, 266 (5th Cir.

2007).


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     The second part of the Strickland test requires the petitioner

to show prejudice from counsel’s deficient performance.            To show

prejudice in these circumstances, a defendant must demonstrate that

there is a reasonable probability that, but for counsel’s deficient

failure to consult with him about an appeal, he would have timely

appealed.   Flores-Ortega, 528 U.S. at 484, 120 S.Ct. at 1038.

     When counsel’s constitutionally deficient performance deprives

a defendant of an appeal that he otherwise would have taken, the

defendant has made out a successful ineffective assistance of

counsel claim entitling him to an appeal.       Id., 120 S.Ct. at

 1039.

     The Fifth Circuit Court of Appeals has consistently held that

the failure of counsel to timely file or perfect an appeal upon

request of the defendant constitutes ineffective assistance of

counsel, entitling the defendant to post-conviction relief in the

form of an out-of-time appeal.         See, e.g., Barrientos v. United

States, 668 F.2d 838 (5th Cir. 1982); Mack v. Smith, 659 F.2d 23

(5th Cir. 1981); Chapman v. United States, 469 F.2d 634 (5th Cir.

1972); Arrastia v. United States, 455 F.2d 736 (5th Cir. 1972);

Kent v. United States, 423 F.2d 1050, 1051 (5th Cir. 1970); Atilus

v. United States, 406 F.2d 694 (5th Cir. 1969); Schwander v. United

States, 386 F.2d 20 (5th Cir. 1967); Brewen v. United States, 375

F.2d 285 (5th Cir. 1967); Bray v. United States, 370 F.2d 44 (5th

Cir. 1966); Camp v. United States, 352 F.2d 800 (5th Cir. 1965).


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       When leave to file an out-of-time appeal is granted, the §

2255    petition    should   be     dismissed   without    prejudice     and     the

district court should vacate then reinstate the criminal judgment

on the docket of the court to trigger the running of a new Rule

4(b), Fed.R.App.P., appeal period. United States v. West, 240 F.3d

456, 459 (5th Cir. 2001).

       The statement in paragraph E of counsel’s Affidavit, accepted

as true, supports a finding that counsel discussed taking an appeal

with the petitioner and clearly knew the petitioner wanted to file

an appeal.     Counsel took no steps whatsoever to perfect an appeal.

Therefore,      counsel’s    representation      fell     below   an   objective

standard of reasonableness.           The record evidence also supports a

finding that the petitioner was prejudiced by counsel’s deficient

performance since a notice of appeal was not filed.                      But for

counsel’s failure to file a notice of appeal, the petitioner would

have timely appealed.

       There is no need to address at this time any of the other

grounds for relief asserted in the petition.                   It is generally

inappropriate to address issues raised in a § 2255 petition when a

appeal is pending.       See Bowen v. Johnston, 306 U.S. 19, 26-27, 59

S.Ct. 442, 445-446 (1939) (A district court should entertain a

habeas action during the pendency of a direct appeal only when the

face of the record reveals that the trial court did not have

jurisdiction to convict the defendant or when the need for the writ


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is apparent); see also § 2255 Rule 5, Advisory Comm. Note 1,

(explaining that there is no “jurisdictional bar” to entertaining

a § 2255 motion during the pendency of a defendant’s direct appeal,

but “orderly administration of criminal law precludes considering

such a motion absent exceptional circumstances”).                There are no

extraordinary circumstances apparent on the face of the record for

taking the petitioner’s case outside the scope of the general rule.

If the recommendation made in this report is accepted by the

district judge, the petitioner will have the opportunity to pursue

an out-of-time appeal.     There is no indication in the record that

the petitioner would forego that opportunity.


                                RECOMMENDATION

     It is the recommendation of the magistrate judge that (1) the

Helen Faye Stewart’s motion to vacate, set aside, or correct his

sentence   pursuant   to   28    U.S.C.   §   2255    be   dismissed    without

prejudice and (2) the Judgment of conviction be vacated and then

reinstated, thereby affording the defendant an opportunity to file

a notice of appeal.

     If this recommendation is accepted by the district judge, the

petitioner will be responsible for promptly enrolling counsel or

requesting appointment of counsel, and for filing a notice of

appeal within the 14 day time limit set forth in Rule 4(b)(1)(A),

Fed.R.App.P.

     If this recommendation is not accepted by the district judge,

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the petitioner’s § 2255 motion should be referred back to the

magistrate judge for further proceedings on the petitioner’s four

remaining claims.

     Baton Rouge, Louisiana, October 30, 2013.



                                 STEPHEN C. RIEDLINGER
                                 UNITED STATES MAGISTRATE JUDGE




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